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Honorable John C. Coughenour

UNITED STATES DISTRICT COURT, WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
ALEXANDER SERRA, M_D.,
Plaintiff, No. C 05-0827 JCC
Vv.

CENTER FOR DIAGNOSTIC IMAGING, STIPULATION OF DISMISSAL WITH
INC., a Minnesota corporation; CDI PREJUDICE, PURSUANT TO FED. R.
MANAGEMENT CORP., a Minnesota CIV. P. 41(a)(1)Gi), AND [PROPOSED]
corporation; ONEX, INC., a Canadian ORDER THEREON
corporation; DON JACOBSEN, an individual;
TOM TOMLINSON, an individual; and
ROBERT BAUMGARTNER, an individual,

Defendants.

 

 

 

 

Pursuant to Rule 41(a)(1)(i1) of the Federal Rules of Civil Procedure, IT IS
HEREBY STIPULATED between the parties, by and through their respective counsel of record,
based upon the Confidential Settlement Agreement and Mutual Release effective July 5, 2005,
that the claims of plaintiff Alexander Serra, M.D., asserted against defendants Center for
Diagnostic Imaging, Inc., CDI Management Corp., Onex, Inc., Don Jacobsen, Tom Tomlinson
and Robert Baumgartner in the above-captioned action, shall be and are hereby DISMISSED

with prejudice, AND THAT all parties shall bear their own costs and attorneys’ fees.

STIPULATION OF DISMISSAL AND -|- ES
[PROPOSED] ORDER sea
Case No. C05-0827 JCC HAGENS BERMAN

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Date: August 3, 2005

IT IS SO ORDERED.

Dated:

STIPULATION OF DISMISSAL AND
[PROPOSED] ORDER
Case No. C05-0827 JCC

1845.10 0037 MTN.DOC

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Attorneys for Defendants

By:

 

Hon. John C. Coughenour
United States District Judge

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